      Case 4:13-cr-00197-BSM Document 60 Filed 07/08/13 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

VS.                                NO. 4:13MJ6022-BD

AMJAD KATTOM (02)
EASSA RAWASHDEH (03)
SAHAR KATTOM (05)                                                          DEFENDANTS


                                          ORDER

       Defendants Amjad Kattom, Sahar Kattom, and Eassa Rawashdeh have now

retained counsel to represent them: Lott Rolfe, IV; Omar Greene, II; and Stuart C. Vess,

respectively. Accordingly, Jordan Brown Tinsley, Leslie Roger Ablondi, and Richard L.

Mays, Jr. are relieved of further representation as court-appointed attorneys under the

Criminal Justice Act. However, they will be compensated for services already provided,

including Defendants’ initial appearance hearings and proceedings to determine, among

other things, Defendants’ financial ability to pay for legal services.

       The Clerk of Court is directed to update the docket for this case to indicate that

Mr. Rolfe represents Amjad Kattom; Mr. Greene represents Sahar Kattom; and Mr. Vess

represents Eassa Rawashdeh.

       IT IS SO ORDERED this 8th day of July, 2013.




                                           UNITED STATES MAGISTRATE JUDGE
